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               EXHIBIT C
    2009.11.06 Ballet News Article
Cupcakes & conversation with Dusty Button, Artist, Birmingham Royal Ballet | Ballet News
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                                                             ROYAL BALLET
                                                                                           Posted by Ballet News | Nov 6, 2009 | Cupcakes & Conversation | 17 




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                                     CUPCAKES & CONVERSATION WITH DUSTY BUTTON, ARTIST, BIRMINGHAM
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                                  Birmingham Royal Ballet are performing in London from 10th November 2009 and Button can be seen in The Centre and its Opposite, part of the Quantum
                                  Leaps triple bill.




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                                                                                                          Dusty Button by Andy Ross
                                  What motivates you at 8am on a Monday morning?
                                  To be honest, most mornings at 8am I’m still in bed! Sometimes it takes me a while to get motivated but coffee is always a start!


                                  What are you looking forward to dancing this season?

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                                  I was really lookingCase
                                                       forward2:21-cv-01412-ART-EJY                     Document
                                                              to starting The Centre and its Opposite this season, I love 437-10
                                                                                                                          that. I’m such aFiled   01/06/25
                                                                                                                                           Christmassy girl, I alwaysPage    7 ofto12
                                                                                                                                                                     look forward   Nutcracker! I
                                  can’t wait!




                                  Who would you most like to dance with?
                                  There are so many people I’d love to dance with for so many different reasons but I think I would be beside myself if I got the chance to dance with Sylvie
                                  Guillem. I’m not even sure I would dance if I was on stage with her, I would probably just end up watching!


                                  How do you prepare your pointe shoes?
                                  I don’t do much really. I usually just sew them and break them in a bit. Nothing out of the ordinary.




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                                                                                             Dusty Button and Aaron Robison in The Centre and its Opposite

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                                  What is your daily routine at the moment?
                                  At the moment I usually wake up with enough time for a good warm-up before class and maybe a work out in the middle of the day. Depending on our work load
                                  my routine varies.




                                  You can ask six famous people to dinner – who would you invite?
                                  That is super hard but now I think it would have to be: Beyonce, Liza Minnelli, Chita Rivera, Michael Bublé, Kate Hudson and Matthew McConaughey.


                                  What would surprise people about you?
                                  I don’t know if surprise is the right word but a lot of people don’t know that I’m a Christian. But I am ��


                                  Who inspired you to dance?
                                  I don’t really have one person who inspired me to dance but I did grow up watching all the classic dance movies. My favourite film was White Christmas with
                                  Vera Ellen, Danny Kaye and Bing Crosby. I remember watching a dance scene with Vera Ellen and thinking she was brilliant in her rhinestoned heels! I watch it
                                  every Christmas!


                                  How would someone else describe you?
                                  Loud! Haha! Um I don’t know really, I guess I’m pretty outgoing and up for a challenge, I love smiling so anything that goes with that!




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                                                                                             Dusty Button and Aaron Robison in The Centre and its Opposite

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                                  What is your best piece of advice?
                                  In any situation try and find the positive and just don’t be afraid to fight for what you want! You always have more willpower than you think ��
                                  Which role has tested you the most and how?
                                  I think one of the hardest things I’ve done in the company is Serenade. I absolutely loved dancing it but sometimes the music was so inspiring it was hard not to
                                  go off in my own world and keep dancing! With a piece like Serenade, it only looks great if everyone is in perfect lines and musically together. I think that was
                                  very hard but a lovely piece and great inspiration around me!


                                  What is the funniest thing that’s ever happened to you?
                                  Oh my gosh, funny things happen to me on and off stage all the time! I think one of the funniest things that has ever happened to me was when I was about 13
                                  years old. I was in a singing/drama class at school in South Carolina and we were putting on a production of A Christmas Carol. There weren’t very many boys
                                  in our class and I had been put in the Alto group for singing. So after the auditions my teacher came up to me and asked if I would mind playing Scrooge in the
                                  play! Of course without thinking, I said, ‘Yes!’ Scrooge was the star! But then I realized Scrooge was a grumpy old man. Nevertheless, Christmas came around
                                  and there I was, blonde and perky.. playing Scrooge!


                                  If you designed your own stage costume, what would you create?
                                  That’s really hard. I think I’ve already had the costume I would’ve designed! I had an amazing costume that my mom made when I was about 14. I did a solo to
                                  the song ‘Roxie’ from the musical Chicago. It was a lycra short fitted dress with the back out and silver beads at the bottom. I remember counting something over
                                  6,000 rhinestones on it!! It was incredible. I’d dance in that any day!


                                  What are you most proud of?
                                  Wow! That’s a hard one. I think there are a few. I am so proud to have the parents I have, I couldn’t ask for better! The friendships I’ve created since joining
                                  Birmingham Royal Ballet. And maybe most importantly I’m proud of my faith.


                                  Who would play you in the film of your life?
                                  I would love Kate Hudson to play me in a film! That would be brilliant!


                                  What is your favourite quote?
                                  “If you wanna limit yourself that’s fine, but don’t let other people do it for you.”


                                  Do you have a ‘signature step’ – one that comes naturally to you?
                                  Hm. I don’t know, I guess kicking my legs is something I do a lot! But don’t we all!


                                  A phrase I use far too often is…?
                                  Before I start a sentence it usually begins with, ‘I’m not gonna lie’. (Which is probably a good thing!)


                                  What’s been your best on-stage moment so far?
                                  When I was 16 I performed at a gala in New York City. I was completely overwhelmed on stage and while I was finishing my solo I started crying! It is the best
                                  memory and I had never been so happy!


                                  Do you have a secret skill which no-one knows about?
                                  I’m not sure it’s a secret but I do sing and still taking lessons now! I love it and hopefully one day I’ll put it to good use!




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